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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :   20 Cr. 29-4 (JPO)
                                                                       :
CARLOS RAMIREZ,                                                        :       ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

J. PAUL OETKEN, United States District Judge:

        The change of plea hearing is hereby scheduled for October 20, 2020, at 11:00 a.m. and

will occur as a video conference using the CourtCall platform. As requested, defense counsel

will be given an opportunity to speak with the Defendant by telephone for fifteen minutes before

the sentencing proceeding begins (i.e., at 10:45 a.m.); defense counsel should make sure to

answer the telephone number that was previously provided to Chambers at that time.

        To optimize the quality of the video feed, only the Court, the Defendant, defense counsel,

and counsel for the Government will appear by video for the proceeding; all others will

participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel

per party may participate. Co-counsel, members of the press, and the public may access the

audio feed of the conference by calling 855-268-7844 and using access code 32091812# and PIN

9921299#.

        In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;
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further, it should be used only at the time of the conference because using it earlier could result

in disruptions to other proceedings.

       To optimize use of the CourtCall technology, all those participating by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference — whether in listen-only mode or otherwise — are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

       If CourtCall does not work well enough and the Court decides to transition to its

teleconference line, counsel should call (888) 557-8511 and use access code 9300838. (Members

of the press and public may call the same number, but will not be permitted to speak during the

conference.) In that event, and in accordance with the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, counsel should adhere to the following rules and guidelines

during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel



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               should spell any proper names for the court reporter. Counsel should also take
               special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

       If possible, defense counsel shall discuss the attached Waiver of Right to be Present at

Criminal Proceeding with the Defendant prior to the proceeding. If the Defendant consents, and

is able to sign the form (either personally or, in accordance with Standing Order 20-MC-174 of

March 27, 2020, by defense counsel), defense counsel shall file the executed form at least 24

hours prior to the proceeding. In the event the Defendant consents, but counsel is unable to

obtain or affix the Defendant’s signature on the form, the Court will conduct an inquiry at the

outset of the proceeding to determine whether it is appropriate for the Court to add the

Defendant’s signature to the form.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed

orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to

the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the

proceeding. To the extent any documents require the Defendant’s signature, defense counsel

should endeavor to get them signed in advance of the proceeding as set forth above; if defense

counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine

whether it is appropriate for the Court to add the Defendant’s signature.



       SO ORDERED.


Dated: October 15, 2020                              __________________________________
       New York, New York                                        J. Paul Oetken
                                                            United States District Judge



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                              WAIVER OF RIGHT TO BE
                             -v-                                              PRESENT AT CRIMINAL
                                                                              PROCEEDING
                                    ,
                                       Defendant.                               -CR-    ( )( )
-----------------------------------------------------------------X

Check Proceeding that Applies

____     Entry of Plea of Guilty

         I am aware that I have been charged with violations of federal law. I have consulted with
         my attorney about those charges. I have decided that I wish to enter a plea of guilty to
         certain charges. I understand I have a right to appear before a judge in a courtroom in
         the Southern District of New York to enter my plea of guilty and to have my attorney
         beside me as I do. I am also aware that the public health emergency created by the
         COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I have discussed these issues with my attorney. By signing this document, I
         wish to advise the court that I willingly give up my right to appear in person before the
         judge to enter a plea of guilty. By signing this document, I also wish to advise the court
         that I willingly give up any right I might have to have my attorney next to me as I enter my
         plea so long as the following conditions are met. I want my attorney to be able to
         participate in the proceeding and to be able to speak on my behalf during the proceeding.
         I also want the ability to speak privately with my attorney at any time during the
         proceeding if I wish to do so.



Date:              _________________________                                ____________________________
                   Print Name                                        Signature of Defendant



____     Sentence

         I understand that I have a right to appear before a judge in a courtroom in the Southern
         District of New York at the time of my sentence and to speak directly in that courtroom
         to the judge who will sentence me. I am also aware that the public health emergency
         created by the COVID-19 pandemic has interfered with travel and restricted access to the
         federal courthouse. I do not wish to wait until the end of this emergency to be sentenced.


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        I have discussed these issues with my attorney and willingly give up my right to be
        present, at the time my sentence is imposed, in the courtroom with my attorney and the
        judge who will impose that sentence. By signing this document, I wish to advise the court
        that I willingly give up my right to appear in a courtroom in the Southern District of New
        York for my sentencing proceeding as well as my right to have my attorney next to me at
        the time of sentencing on the following conditions. I want my attorney to be able to
        participate in the proceeding and to be able to speak on my behalf at the proceeding.
        I also want the ability to speak privately with my attorney at any time during the
        proceeding if I wish to do so.


Date:          _________________________                    ____________________________
               Print Name                            Signature of Defendant

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my
client, my client’s rights to attend and participate in the criminal proceedings encompassed by
this waiver, and this waiver and consent form. I affirm that my client knowingly and voluntarily
consents to the proceedings being held with my client and me both participating remotely.


Date:          __________________________                   _____________________________
               Print Name                            Signature of Defense Counsel



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter
also translated this document, in its entirety, to the defendant before the defendant signed it.
The interpreter’s name is: _______________________.


Date:          _________________________
                Signature of Defense Counsel




Accepted:      ________________________
               Signature of Judge
               Date:




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